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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JESSICA BERK,

                                Plaintiff,
                                                                 20-CV-2490 (LLS)
                    -against-
                                                                CIVIL JUDGMENT
CITY OF NEW YORK, ET AL,

                                Defendants.

         Pursuant to the order issued October 16, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed under

28 U.S.C. § 1915(e)(2)(B)(ii). The Court declines, under 28 U.S.C. § 1367(c), to exercise

supplemental jurisdiction over any state law claims that Plaintiff may be asserting.

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     October 16, 2020
           New York, New York

                                                               Louis L. Stanton
                                                                  U.S.D.J.
